                               NO. 07-11-0037-CV

                            IN THE COURT OF APPEALS

                       FOR THE SEVENTH DISTRICT OF TEXAS

                                  AT AMARILLO

                                    PANEL D

                                APRIL 12, 2011
                        ______________________________

                                NANCY Y. IIAMS,

                                						Appellant

                                      V.

            FEDERAL NATIONAL MORTGAGE ASSOCIATION a/k/a FANNIE MAE,

                                						Appellee
                       _________________________________

           FROM THE COUNTY COURT AT LAW NO. 4 OF WILLIAMSON COUNTY;

               NO. 10-1185-CC4; HON. JOHN B. McMASTER, PRESIDING
                       _______________________________ 
                                       
                                   Abatement
                       _______________________________ 
                                       

Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.
	Appellant appeals a judgment in favor of appellee in an action for forcible entry and detainer.  Subsequent to the filing of this appeal, however, this Court received notice from appellant that she has filed a voluntary petition in bankruptcy under Chapter 7 of the United States Bankruptcy Code.  Said notice included a file-marked copy of the Notice of Chapter 7 Bankruptcy Case and summons.  Pursuant to 11 U.S.C. §362, any further action in this appeal is automatically stayed.  

	Under these circumstances, and for administrative purposes, this appeal is removed from the docket of this Court and abated.  The appeal will be reinstated upon proper motion to sever with respect to any non-bankrupt party or motion to reinstate as permitted by federal law or the bankruptcy court, specifying the action required by this Court.
	Accordingly, the appeal is abated.

							Per Curiam


 


